Case 4:20-cr-00317-JSW Document1 Filed 08/06/20 Page 1 of 9

AO 257 (Rev. 6/78)

 

| DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

sy: L] compLaint LJ] INFORMATION INDICTMENT
(_] SUPERSEDING

 

—— OFFENSE CHARGED

SEE ATTACHED. [| Petty
[] Minor
Misde-
L] meanor
Felony
PENALTY; SEE ATTACHED.

 

PROCEEDING
Name of Complaintant Agency, or Person (& Title, if any)

FBI

0 person is awaiting trial in another Federal or State Court,
give name of court

 

 

this person/proceeding is transferred from another district
O per (circle one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of
i: charges previously dismissed

which were dismissed on motion SHOW

of: DOCKET NO.
LC] U.S. ATTORNEY [| DEFENSE \

this prosecution relates to a
[_] pending case involving this same
defendant MAGISTRATE
prior proceedings or appearance(s)
before U.S. Magistrate regarding this

 

defendant were recorded under

 

J

\ CASE NO.
Name and Office of Person

Furnishing Information on this form DAVID L. ANDERSON
U.S. Attorney [] Other U.S. Agency

 

Name of Assistant U.S.

Attorney (if assigned) Samantha Schott Bennett

 

 

PROCESS:
[] SUMMONS [] NO PROCESS* [x] WARRANT

If Summons, complete following:
[| Arraignment C] Initial Appearance

Defendant Address:

 

Comments:

Name of District Court, and/or a - LED

NORTHERN DISTRICT OF CALIFORNIA

oaktanp oivision AUG ~6 2020

SUSAN Y. SOONG

, US. UI COURT
NORTH DISTRICT OF CALIFORNIA

} JOSE IGNACIO OCHOA AKA "DIVER"
et ee

.. IS NOTIN CUSTODY
Has not been arrested, pending outcome this proceeding.
1) If not detained give date any prior
summons was served on above charges

-— DEFENDANT - U.S

 

DISTRICT COURT NUMBER

 

2) (_] Is a Fugitive

3) [[] !s on Bail or Release from (show District)

 

IS IN CUSTODY
4) [|] On this

  
  

5) [-] On another conviction

} [_] Federal [| State

6) [_] Awaiting trial on other charges
If answer to (6) is "Yes", show name of institution

lf "Yes"
\ give date

 

Has detainer L_] Yes

been filed? Ol No filed
DATE OF » Month/Day/Year
ARREST

 

Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

 

 

 

ADDITIONAL INFORMATION OR COMMENTS

Date/Time:

 

LE] This report amends AO 257 previously submitted

 

Bail Amount: NO BAIL

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge:

 
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FILED
AUG 6 2020

PENALTY SHEET FOR JOSE IGNACIO OCHOA, aka “DIVER”

Count One: Possession with Intent to Distribute Cocaine, 21 U.S.C. 8§ 841(a)(1) a

 

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(b)(1)(B)(ii) CLERK, US, DISA ONG
Maximum term of imprisonment: 40 years NORTH DISTRICT OF CALIFORNIA

Mandatory minimum term of imprisonment: 5 years
Maximum term of supervised release: Life

Mandatory minimum term of supervised cclenslt Rs

Maximum fine: $5,000,000 “ 2 0 _ 0 3 ] ?

Mandatory special assessment: $100 an J
Forfeiture § W

Denial of federal benefits

Count Two: Possession with Intent to Distribute Heroin, 21 U.S.C. §§ 841(a)() and
(b)(1)(B) (i)

Maximum term of imprisonment: 40 years

Mandatory minimum term of imprisonment: 5 years

Maximum term of supervised release: Life

Mandatory minimum term of supervised release: 4 years

Maximum fine: $5,000,000

Mandatory special assessment: $100

Forfeiture

Denial of federal benefits

Count Three: Possession with Intent to Distribute Methamphetamine, 21 U.S.C. §§
841(a)(1) and (b)(1)(B)(viii)

Maximum term of imprisonment: 40 years

Mandatory minimum term of imprisonment: 5 years

Maximum term of supervised release: Life

Mandatory minimum term of supervised release: 4 years

Maximum fine: $5,000,000

Mandatory special assessment: $100

Forfeiture

Denial of federal benefits

Count Four: Possession with Intent to Distribute Fentanyl, 21 U.S.C. §§ 841(a)(1) and
(b)1)(C)

Maximum term of imprisonment: 20 years

Maximum term of supervised release: Life

Mandatory minimum term of supervised release: 3 years
Case 4:20-cr-00317-JSW Document1 Filed 08/06/20 Page 3 of 9

Maximum fine: $1,000,000

Mandatory special assessment: $100 AUG - 6 202
Forfeiture Usany 0
Denial of federal benefits noms U.S. Dis SOONG
ISTRICT OF Gj COURT
“ITORNIA

Count Five: Possession of a Firearm in Furtherance of a Drug Trafficking Crime, 18 U.S.C.

§ 924(c)(1)(A)(i)

Maximum term of imprisonment: Life

Mandatory minimum term of imprisonment: 5 years JSWw
Maximum term of supervised release: 5 years

Maximum fine: $250,000 C R 2 Q 0 3 1 "
Mandatory special assessment: $100 7
Forfeiture

Count Six: Felon in Possession of a Firearm and Ammunition, 18 U.S.C. § 922(g)(1)
Maximum term of imprisonment: 10 years

Maximum term of supervised release: 3 years

Maximum fine: $250,000

Mandatory special assessment: $100

Forfeiture
Case 4:20-cr-00317-JSW Document1 Filed 08/06/20 Page 4 of 9 TiLED

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United States District Court ue 6 2020

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FOR THE NORTH Bisse ISTRICT Cour
NORTHERN DISTRICT OF CALIFORNIA TOF CALIFORNIA

VENUE: | Oakland

 

UNITED STATES OF AMERICA,
V.

JOSE IGNACIO OCHOA, ISW

aka “Diver,”

CR 20.0317

21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(ii) — Possession with Intent to Distribute Cocaine;
21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(i) — Possession with Intent to Distribute Heroin;
21 U.S.C. §$§ 841(a)(1) and (b)(1)(B)(viii) — Possession with Intent to Distribute Methamphetamine;
21 U.S.C. §§ 841(a)(1) and (b)(1)(C) — Possession with Intent to Distribute Fentanyl;
18 U.S.C. § 924(c)(1)(A)(i) —Possession of a Firearm in Furtherance of a Drug Trafficking Crime;
18 U.S.C. § 922(g)(1) — Felon in Possession of a Firearm and Ammunition;
21 U.S.C. § 853, 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c) — Forfeiture Allegations

 

 

INDICTMENT

 

 

 

 

A true bill.

/s/ Foreperson of the Grand Jury
Foreman

 

Filed inopencourtthis 6th _ day of
_August, 2020 _ _

Magistrate Judge van He Clerk

Bail, { No Bail

 

 
 

 

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DAVID L. ANDERSON (CABN 149604) ALI =
United States Attorney AUG 6 2020
SUSAN Y. SOONG

CLERK, U.S. DISTRICT COURT
NORTH DISTRICT OF CALIFORNIA

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA J Wy
OAKLAND DIVISION

OR 20 031

VIOLATIONS:

UNITED STATES OF AMERICA,
Plaintiff,
Ne 21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(ii) — Possession

with Intent to Distribute Cocaine;

JOSE IGNACIO OCHOA, 21 U.S.C. $§ 841(a)(1) and (b)(1)(B)(i) — Possession

aka “Diver,” with Intent to Distribute Heroin;
21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(viii) —
Defendant. Possession with Intent to Distribute

Methamphetamine;

21 U.S.C. §§ 841(a)(1) and (b)(1)(C) — Possession
with Intent to Distribute Fentany];

18 U.S.C. § 924(c)(1)(A)(i) —Possession of a Firearm
in Furtherance of a Drug Trafficking Crime;

18 U.S.C. § 922(g)(1) — Felon in Possession of a
Firearm and Ammunition;

21 U.S.C. § 853, 18 U.S.C. § 924(d) and 28 U.S.C. §

2461(c) — Forfeiture Allegations

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INDICTMENT
The Grand Jury charges:
COUNT ONE: (21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(ii) — Possession with Intent to Distribute
Cocaine)
On or about June 12, 2019, in the Northern District of California, the defendant,

JOSE IGNACIO OCHOA,
aka “Diver,”

INDICTMENT

 
 

 

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did knowingly and intentionally possess with intent to distribute 500 grams and more of a mixture and
substance containing a detectable amount of cocaine, its salts, optical and geometric isomers, and salts

of its isomers, a Schedule II] controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and (b)(1)(B)(ii).

COUNT TWO: (21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(i) — Possession with Intent to Distribute
Heroin)
On or about June 12, 2019, in the Northern District of California, the defendant,
JOSE IGNACIO OCHOA,
aka “Diver,”
did knowingly and intentionally possess with intent to distribute 100 grams and more of a mixture and
substance containing a detectable amount of heroin, a Schedule I controlled substance, in violation of

Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B)(i).

COUNT THREE: (21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(viii) — Possession with Intent to Distribute
Methamphetamine)

On or about June 12, 2019, in the Northern District of California, the defendant,

JOSE IGNACIO OCHOA,
aka “Diver,”

did knowingly and intentionally possess with intent to distribute 50 grams and more of a mixture and
substance containing a detectable amount of methamphetamine, its salts, isomers, and salts of its
isomers, a Schedule II controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and (b)(1)(B)(viii).

COUNT FOUR: (21 U.S.C. §§ 841(a)(1) and (b)(1)(C) — Possession with Intent to Distribute
Fentanyl)

On or about June 12, 2019, in the Northern District of California, the defendant,

JOSE IGNACIO OCHOA,
aka “Diver,”

INDICTMENT 2

 
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did knowingly and intentionally possess with intent to distribute a mixture and substance containing a
detectable amount of fentanyl, a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1) and (b)(1)(C).

COUNT FIVE: (18 U.S.C. § 924(c)(1)(A)(i) — Possession of a Firearm in Furtherance of a Drug
Trafficking Crime)
On or about June 12, 2019, in the Northern District of California, the defendant,
JOSE IGNACIO OCHOA,
aka “Diver,”
did knowingly possess a firearm, namely, a Ruger Security-Six .357 magnum revolver, bearing serial
number 157-48147, in furtherance of the drug trafficking crimes charged in Counts One through Four of

this Indictment, all in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

COUNT SIX: (18 U.S.C. § 922(g)(1) — Felon in Possession of a Firearm and Ammunition)
On or about June 12, 2019, in the Northern District of California, the defendant,
JOSE IGNACIO OCHOA,
aka “Diver,”
knowing he had previously been convicted of a crime punishable by imprisonment for a term exceeding
one year, knowingly possessed a firearm, namely, one Ruger Security-Six .357 magnum revolver,
bearing serial number 157-48147, loaded with ammunition, namely, six rounds of Hornaday
ammunition, and the firearm and ammunition were in and affecting interstate and foreign commerce, all

in violation of Title 18, United States Code, Section 922(g)(1).

FIRST FORFEITURE ALLEGATION: (21 U.S.C. § 853(a))

The allegations contained above are hereby re-alleged and incorporated by reference for the
purpose of alleging forfeiture pursuant to Title 21, United States Code, Section 853(a).

Upon conviction of any of the offenses alleged in Counts One through Four above, the

defendant,

INDICTMENT 3

 
 

 

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JOSE IGNACIO OCHOA,
aka “Diver,”
shall forfeit to the United States all right, title, and interest in any property constituting and derived from
any proceeds defendant obtained, directly or indirectly, as a result of such violations, and any property
used, or intended to be used, in any manner or part, to commit or to facilitate the commission of such
violations.

If any of the property described above, as a result of any act or omission of the defendant:

a. cannot be located upon exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

€. has been commingled with other property which cannot be divided without
difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,
United States Code, Section 853(p).
All pursuant to Title 21, United States Code, Section 853, and Federal Rule of Criminal

Procedure 32.2,

SECOND FORFEITURE ALLEGATION: (18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

The allegations contained in this Indictment are re-alleged and incorporated by reference for the
purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 924(d) and Title 28,
United States Code, Section 2461(c).

Upon conviction of the offense set forth in Counts Five and Six, the defendant,

JOSE IGNACIO OCHOA,
aka “Diver,”
shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d) and Title 28,
United States Code, Section 2461(c), any firearm and ammunition involved in the commission of the

offense, including, but not limited to, the following property:

INDICTMENT 4

 
 

 

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a.

b.

one Ruger Security-Six .357 magnum revolver, bearing serial number 157-48147;
and

six rounds of Hornaday ammunition.

If any of the property described above, as a result of any act or omission of the defendant:

a.
b.
c.

d.

€.

cannot be located upon exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;

has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided without

difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

All pursuant to Title 18, United States Code, Section 924(d), Title 28, United States Code,

Section 2461(c), and Federal Rule of Criminal Procedure 32.2.

DATED: August 6, 2020 A TRUE BILL.

__/s/
FOREPERSON

DAVID L. ANDERSON
United States Attorney

Samantha Schott Seauctt

 

SAMANTHA SCHOTT BENNETT

JONATHAN U. LEE

Assistant United States Attorneys

INDICTMENT

 
